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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00232 GEB
12
                                   Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
13                                                       IN GOVERNMENT’S NOTICE
                            v.
14
     YANIV GOHAR, et al.,
15
                                  Defendants.
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17
            Pursuant to Local Rule 141(b) and based upon the representations contained in the government’s
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     request to seal, IT IS HEREBY ORDERED that the government’s ex parte motion and proposed order
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     allowing the government to produce certain documents to defendants, as well as its request to seal, shall
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     be SEALED until further order of this Court.
21
            It is further ordered that access to the sealed documents shall be limited to the government unless
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     and until this Court grants the government’s ex parte motion and proposed order, in which case the order
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     (but not the ex parte motion) shall be accessible to both the government and counsel for the defendants.
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            The Court has considered the factors set forth in Oregonian Publ’g Co. v. United States Dist.
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     Court, 920 F.2d 1462 (9th Cir. 1990), and progeny. The Court finds that, for the reasons stated in the
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     government’s Request to Seal, sealing is appropriate due to the subject matter of the government’s ex
27
     parte motion and the fact that the public does not have a presumptive right of access to that subject
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
30    FORTH IN GOVERNMENT’S NOTICE
              Case 2:17-cr-00232-JAM Document 177 Filed 01/11/19 Page 2 of 2

 1 matter.

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 3           IT IS SO ORDERED.

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     Dated: January 11, 2019
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET   2
30    FORTH IN GOVERNMENT’S NOTICE
